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                                                    CERTIFIED COPY
            IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


  CHRISTOPHER DOSS,                                                        PLAINTIFF

           vs                              No.      4:13-cv-121 SWW

  THE CITY OF ALEXANDER; CHIEF
  HORACE WALTERS, INDIVIDUALLY
  AND AS POLICE CHIEF FOR THE
  ALEXANDER POLICE DEPARTMENT;
  JEFFREY WATSON, IN HIS INDIVIDUAL
  CAPACITY; BLANKENSHIP, IN HIS
  INDIVIDUAL CAPACITY; SALINE COUNTY;
  BRUCE PENNINGTON, INDIVIDUALLY AND
  AS SALINE COUNTY SHERIFF; TIM GREEN,
  IN HIS INDIVIDUAL CAPACITY;
  PAUL BABBITT, IN HIS INDIVIDUAL
  CAPACITY; JERRY ODOM, IN HIS OFFICIAL
  CAPACITY                                                                 DEFENDANT


                DEPOSITION OF TIMOTHY SHANNON GREEN

                   DATE:         October 9, 2013
                   TIME:         9:38 a.m.
                   PLACE:        The Saline County Courthouse
                                 200 North Main Street
                                 Benton, AR 72015-3767


                                      APPEARANCES

  On Behalf of the Plaintiff:                     Bridgette M. Frazier, Attorney
                                                  The Frazier Law Firm
                                                  1723 Broadway
                                                  Little Rock, AR 72206-1220

                                   Cobb Court Reporting
                        P.   o. Box #4, Sweet Home, AR  72164-0004
                  Phones:     (501) 490-0066 -Off; (501) 590-0975 - Cell
                                  (501) 490-0926 -Facsimi l e
                               e-mail: gloria.cobb@comcast.net
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  On Behalf of the Defendants:                   David M. Fuqua, Attorney
                                                 Fuqua Campbell, P.A.
                                                 425 W. Capitol Ave., Suite #400
                                                 Litt le Rock, AR 72201

                                                 John L. Wilkerson, Attorney
                                                 Arkansas Municipal League
                                                 P. 0. Box #38
                                                 North Little Rock, AR 72115

                                                 George D. Ellis, Attorney
                                                 The Ellis Law Firm
                                                 P. 0. Box #2 307
                                                 Benton, AR 72018-2307

                                                 Jonathan Greer
                                                 Saline County Attorney
                                                 Saline County Courthouse
                                                 200 North Main Street
                                                 Benton, AR 72015-3767




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 2                                                                                                 PAGE

 3     AGREEMENT OF COUNSEL.                                                                   .    . 3

 4     SWEARING OF THE WITNESS .                                                                     •3

 5     EXAMINATION OF TIMOTHY SHANNON GREEN

 6           By Mrs. Frazier.                                                           . 4-31 & 34

 7           By Mr. Fuqua.                                                                    .31-32

 8           By Mr. Ellis.                                                             . 32-33 & 34

 9     COURT REPORTER'S CERTIFICATION . .                                                      • • 39

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19     #1    Alexander Arrest Procedures [not dtd].                                       . . 35-36

20     #2    Doss Case Narrative by Tim Green dtd 3 /2 1 / 13.                                     . 37

21     #3    Doss Case Narrative by Tim Green dtd 4 / 5 /13 .                                 . . 38

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23


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1                                        STIPULATIONS

2            The deposition of Timothy Shannon Green, produced, sworn

 3     and examined at the Saline County Courthouse , 200 North Main

4      Street, Benton, AR       72015 - 3767, commencing at 9 :38 a.m., on

5      October 9, 2013, in the captioned cause at the instance of

 6     counsel for the Plaintiff, and said deposition being taken

 7     according to the terms and provisions of the Arkansas Rules of

 8     Civil procedure .

 9           It is stipulated and agreed all forms and formalities in

10     the taking, transcribing, forwarding and filing of said

11     deposition, are hereby waived by the parties, the right being

12     expressly reserved to object to the testimony of the witness at

13     the time of trial as to incompetency, irrelevancy and

14     immateriality, other than those with respect to the form of

15     questions as propounded to the witness.

16                                         * * * * *
17                                  P R 0 C E E D I N G

18     THEREUPON,

19                                TIMOTHY SHANNON GREEN

20     having been called for examination by counsel for the

21     plaintiff, and having been first duly sworn, was examined and

22     testified as follows :

23                                  DIRECT EXAMINATION

24     Questions by Mrs. Frazier:

25     Q.   Okay, thank you, Ms. Cobb.            My name is Bridgette, we met
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 1     earlier; I represent Chris Doss ah, Mr. Doss in this case.                                   Ah,

 2     have you ever given a deposition before?

 3     A.   I have; yes, ma'am.

 4     Q.   Okay.     In which cases?

 5     A.   Ah, a case out of North Little Rock.

 6     Q.   Do you remember the name of the case?

 7     A.   Ah, it was a case that I had personally against North

 8     Little Rock .

 9     Q.   So you had personally against--was this a civil case?

10     A.   Civil case; yes, ma'am.

11     Q.   Okay.    Which court was that in?

12     A.   Ah, it was a Pulaski County Court, I don't know what

13     division it was in.

14     Q.   Okay.    What year was that case?

15     A.   2008 I believe it was.

16     Q.   Okay.    How was that case resolved?

11     A.   Yes , rna ' am.

18     Q.   How was that case resolved?

19     A.   I believe it went to ah, the Supreme Court and it was

20     dismissed.

21     Q.   Okay.    What were the facts surrounding that case?

22     A.   Ah, I was married to another officer and she made some

23     false allegations that were proven to be false and during that

24     time they actually ah, put me in the back of the car and did

25     some things and come to find out they were proven to be false
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1      and then a lawsuit was filed by my attorney .

 2     Q.   Was it a wrongful termination lawsuit or - - -

 3     A.   No ma'am , they actually ah, actually put me in the back of

 4     a police car and took me down and made me submit to a test and

 5     different things like that .

 6     Q.   Okay.     So you're familiar with how depositions work?

 1     A.   Yes, ma'am.

 8     Q.   You ' re familiar with the whole process?

 9     A.   Yes, ma'am.

10     Q.   So you understand that you ' re under oath?

11     A.   Yes , rna ' am .

12     Q.   Is there any reason that your testimony--is there anything

13     going on that would affect your testimony today?                                                For example ,

14     are you under the influence of anything today?

15     A.   Absolutely, I am not .

16     Q.   Okay, I just wanted to get that out of the way.                                               Ah, did

11     anyone assist to prepare you for this deposition today?

18     A.   Ah , no, ma'am.

19     Q.   Okay .    Did you look at any documents to refresh your memory

20     before your deposition?

21     A.   No , rna ' am .

22     Q.   Did you look at any interrogatories or any other court

23     documents to prepare you for today?

24     A.   Actually today?

25     Q.   For today .
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 1     A.   For today.     I had to go to the attorney's and answer

 2     interrogatories.

 3     Q.   Okay.    But did you look at any other interrogatories or any

 4     other documents?

 5     A.   No, ma'am.

 6     Q.   Okay.    Did anyone tell you about the information contained

 1     in any of the other interrogatories?

 8                       FUQUA:        I object to the extent that might be

 9     attorney/client privileged.

10     Q.   You don't have to tell me what anyone said but did you

11     look , did anyone tell you anything that might be in the other

12     interrogatories?

13     A.   Ah, no ma'am.

14     Q.   Okay.    Do you know the defendant in this case?

15     A.   Do I know what, ma'am?

16     Q.   Do you know the defendant in this case, the other

11     defendants?

18     A.   Ah, I don't know who all is in involved; no, ma'am.

19     Q.   Okay.    It's Bruce Pennington, Paul Babbitt, Jer ry Odom,

20     Horace Walters, Jeffrey Watson, and William Blankenship?

21     A.   Ah, I'm familiar, I don't know Blankenship and I don't know

22     Watson and I think I've only met Mr. Walters one time.

23     Q.   Okay.

24     A.   The other one's I'm familiar with.

25     Q.   When was the last time you've communicated with the
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 1     defendant, let's just start when was the last time you

 2     communicated with Paul Babbitt ?

 3     A.   Ah, it's probably been two weeks ago.

 4     Q.   Okay.     Did you discuss this case ?

 5     A.   No, ma'am .

 6     Q.   Okay .    What about Jerry Odom, when was t he las t t ime you

 1     communicated with him?

 8     A.   It's been probably months ; I have see n h im in months.

 9     Q.   Did you discuss this case with Mr. Odom?

10     A.   Ah, not that I remember.

11     Q.   Okay.     What about ah, Bruce Pennington?

12     A.   Ah, I talked to the sheriff his l as t day which that was on

13     the 30th of last month.

14     Q.   Okay .    Did you ever discuss this case---

15     A.   No , rna ' am.

16     Q.   with Sheriff Pennington?                  What about William Blanken ship?

17     A.   I don't know William Blankenship.

18     Q.   Okay .    Does he go by William or just Stan; do y ou kn ow?

19     A.   I don't know.

20     Q.   Okay.     What about Jeffery Watson?

21     A.   I don't know Mr . Watson.

22     Q.   Okay.     So you did not discuss this case wi t h Jeffery

23     Watson?

24     A.   No , rna' am; I don't know him.

25     Q.   Okay.     Did you make or write any s t atements regarding the
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 1     facts surrounding this case?

 2     A.   Ah, I made an incident report and I made an i ncident report

 3     and a use of force report; yes, ma'am.

 4     Q.   Okay, all right.        Let's get a little bit about your

 5     background.      Can you state your full name and address for the

 6     record?

 7     A.   It's ah, Timothy Shannon Green---

 8     Q.   Uh-huh.

 9     A.   It's 121 Grant 55, Hensley, Arkansas                   72065.

10     Q.   Okay.     Where are you from Mr. Green?

11     A.   Ah, Sheridan.

12     Q.   Sheridan?

13     A.   Yes, rna' am.

14     Q.   Born and raised?

15     A.   Ah, yes, ma'am.

16     Q.   Okay.     And then how long have you been a police officer?

17     A.   Ah, almost ah, a little over seventeen years.

18     Q.   Ooh, okay.      Tell me ah, your background here; tell me your

19     law enforcement background, please?

20     A.   Ah, I started in law enforcement back in 91 before I

21     graduated from high school---

22     Q.   Uh-huh.

23     A.   I was a cadet for the Sheriff's Office down in Grant County

24     ah, and once I turned eighteen I went to the cadet program in

25     North Little Rock and served in North Little Rock from 94 ah,
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 1      until 2008; I was a ah, youngest field training officer in the

 2      history of North Little Rock and ah, stayed there until 2008

 3      and then ah, left there and came down to the Sheriff's Office

 4      and ah, was at Saline County and they offered me a school

 s      resource position in Bryant ah, working with kids and things

 6      and ah, went to Bryant, revamped their school resource program

 7      and then ah, they offered me a sheriff's with the canine

 8      program, to take over the canine program and that's where I'm

 9      at now.

10      Q.   Okay.   So why did you leave North Little Rock to go to was

11      it Saline County?

12      A.   Yes, ma'am.

13      Q.   Okay.

14      A.   Ah, like I told you I was married to another police officer

1s      up there ah, and she stepped out on the marriage and put some

16      different things and made accusations and stuff and I wind up

11      just ah, it became too much affair and I                     just went ahead and

18      resigned.

19      Q.   Okay.   You had to take a pay cut didn't you?

20      A.   I did; yes, ma'am.

21      Q.   Okay.   And in your interrogatories you state you haven't

22      had any reprimands, punishment or disciplines; is that correct?

23      A.   That's correct.

24      Q.   While you were with--at all?

2s      A.   Ah, in North Little Rock I think I got ah, in North Little
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 1      Rock ah, I received like a verbal coun seling---

 2      Q.   Uh-huh.

 3     A.    ah, and then they turned around I got a ah, a letter of

 4      recognition for saving the people in a car that I was pursu i ng,

 5      and then I actually save them out of the car; it was a burning

 6      car and that's the only form of discipli ne that I' v e rec eived,

 7      I've had; I haven't had anything other t han that .

 8      Q.   Uh-huh, okay.         I'd asked you had you e v er been named a

 9      defendant i n a civil or admin i strativ e proceeding a nd you hav e

10      never been a defendant; is that correct ?

11      A.   Not that I remember; no , ma ' am.

12      Q.   Okay.      Ah, have you ever been involv ed i n any civ il o r

13      administrative proceeding; been a defen dant or a p la i nt i ff?

14      A.   Ah , no, ma ' am ; not that I remember.

15      Q.   Okay.      I've asked you had you ever been invo l ved wit h a

16      police or law enforcement officer ah, a n incident which is t he

11      subject of a civ ilian complaint and you said not to my

1s      knowledge.       Generally would you be made aware if someone made a

19      civilian complaint against you?

20      A.   A civilian complaint?

21      Q.   Uh-huh .

22      A.   Ah , sometimes , sometimes they do; it depends on wh a t the

23      circumstance are.

24      Q.   What circumstance would they not make a n officer aware

25      that's there a complaint?
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 1     A.    It depends on the supervisor.                   If somebody calls in and

 2      say, you know, I saw this unit speedin g down the s t reet or

 3     whatever you might be contacted or you mi g ht not .                              So it just

 4      depends on the supervisor .              I don't know wh at a superv--you

 5      know, all supervisors do.

 6      Q.   Have you ever been told that you were the subject of a

 1      complaint?

 8     A.    Ah, are you talking about here in Saline County---

 9      Q.   At all.

10     A.    as far as a complaint?

11      Q.   During your Sal---

12     A.    I have no ah---

13      Q.   We'll start with Saline County.

14     A.    ma ' am, I don't hav e anything in my file as far as

1s      complaints or anything like that .

16      Q.   But have you ever been told that someone called and made a

11      complaint against you or about you?

18     A.    You'll have someone call and say hey, t h is lady wasn't

19      happy with you or whatever and they'll say hey, what happened

20     with this incident or whatever and you'll say this is what

21      happened and then that will be about the end of it.

22      Q.   But has that ever happened to you?

23     A.    It has; yes , ma'am.

24      Q.   Okay .    Do you remember approximately how ma ny times that

25      has happened?
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1      A.    No, ma'am.

2       Q.   Okay.    Do you remember the last time someone made a

3       complaint?

4      A.    Ma'am, I haven't had a complaint in years .

5       Q.   Okay .   What is the use of force policy for Saline County?

 6     A.    Ah, the use of force policy is sort of like a use of force

 7      continuum basically you make your physical presence known and

 8      then you lead up to verbal and you lead up to ah, ah, like your

 9      taser or chemical agents and things like that and it moves on

10      in to impact weapons which is like your batons and then it goes

11      up to lethal force .

12      Q.   Okay.    And can you describe in detail the continuum for me?

13      A.   That's what I just did---

14      Q.   Okay.

15      A.   It is your physical presence, verbal commands telling

16      people hey stop, you're under arrest or get on the ground ah,

11      then i t leads up to taser or chemical agents and then your

18      baton, you impact weapon and then deadly force or lethal force.

19      Q.   So is there any step between verbal command and the use of

20      taser for Saline County?

21      A.   Ah, that's all, right now it says physical presence, verbal

22      and then your taser.

23      Q.   And what are the arrest procedures for Saline County?

24      A.   What do you mean arrest procedures?

25      Q.   Does Saline County have arrest procedures?
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 1     A.    Ah, once you advise someone that they're under arrest, you

 2      have to subdue them with handcuffs and place them in the back

 3     seat of your car, transport'em,               (sic) do your documentation .

 4      Q.   Are you familiar with any arrest procedures?

 5     A.    Ah, that's what our arrest procedures are.

 6      Q.   That's okay.      Ah, what about procedures when effectuating

 1      an arrest or deciding to arrest someone?                    Does Saline County

 8      have any procedures for that?

 9     A.    You mean if they commit a crime?

10      Q.   Uh- huh.

11     A.    If they commit a crime you advise them that they're under

12      arrest, you subdue'em, (sic) transport'em,                   (sic) and fill out

13      your paperwork.

14      Q.   Okay.      Tell me about your training that you've received for

15      the use of force policy?

16      A.   Ah, as far as use of force policy I 've spent three month at

11      the Academy, ALETA, and then when you come back at ah, at North

18      Little Rock you spend six well, I think they've changed it now

19      but when I was there you'd spend six months with a training

20      officer going over the policies and procedures and things like

21      that ah, as far as ah, training at Saline County---

22      Q.   Uh-huh.

23      A.   as far as the use of force policy ah, they just basically

24      follow their policy directive---

25      Q.   Okay.
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 1      A.   which is very similar to North Little Rock's.

 2      Q.   Okay .     But I'm trying to see specifically , tell me were you

 3      trained in Saline County's use of force policy or did they say

 4      here's the manual, follow it?

 5      A.   Well, as far as policy the use of force---

 6      Q.   Uh-huh .

 1      A.   I was trained with the taser.

 8      Q.   Uh-huh .

 9      A.   I spent a one-day class on a taser a n d ah, as far as ah---

10      Q.   I'm sorry, I haven't had--I've only had one cup of tea so

u       it's not you it's me.

12      A.   No, that's fine.

13      Q.   So have you been trained in Saline Co unt y 's u se of force

14      policy?

15      A.   Yes , rna ' am.

16      Q.   When were you trained in Saline County's use of force

11      policy?

18      A.   Ah, 2008 I believe it was .

19      Q.   Okay.      Describe to me the training?

20      A.   Ah, that's what I was going into.                         The training t h at we had

21      as far as the use of force policy that was different than what

22      I've been trained on and everything e l se---

23      Q.   Uh huh .

24      A.   because I wasn ' t trained on the taser until I came t o

25      Saline County and I went through the use of force sc hool
                                             Cobb Court Reporting
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1       regarding the taser ah, as a one-day class.

2       Q.   And who conducted the class?

3       A.   Ah, Sheriff Pennington.

4       Q.   Or was this---

5       A.   Or Bruce Pennington .

 6      Q.   Okay.      Sheriff Pennington and this was in 2008?

 7      A.   2008 or it might have been around 2009; like that yes,

 8      ma'am.

 9      Q.   Okay .     Were you trained specifically on the use of force

10      policy not just the taser but the policy?

11      A.   It was actually on the taser that went in with the use of

12      force policy.

13      Q.   Okay.      You know I'm not trying to split hairs I know you

14      were trained on the taser but were you trained on the policy?

15      A.   I've never went to a class on that.

16      Q.   Did they say here's the policy, here's what you need to do

11      which one happened?

18      A.   Yes, ma'am, they just give you a book as far as a class;

19      no, rna ' am.

20      Q.   Okay.      And when was the last time Sheriff Pennington kind

21      of talked to you or that you've received an instructions or

22      directives regarding the use of force policy?

23      A.   Not since that class, no.

24      Q.   Okay.      What type of taser were you trained on?

2s      A.   Ah, the ah, M-26 and I believe it's the X-26.
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 1      Q.   Okay.     How many times have you used the taser on a suspect?

 2     Approximately, I'm not trying to hold you to a specific number.

 3     A.    Probably six or eight times .

 4      Q.   Six or eight?

 5      A.   Yes, ma'am.

 6      Q.   Okay.     And tell those instances since there's not that many

 1      that you had to use the taser on a suspect?

 8      A.   Ah, one that sticks out in my mind I was chasing a guy that

 9      had a gun and he tried to shoot at me and I deployed my canine

10      and ah, he grabbed my dog and was beating my dog and ah, I had

11      ah, you know, told him that he was going to be tased, you know,

12      taser, taser, taser and I had to tase him in that instance.

13      Q.   Okay.

14      A.   And ah, I was on a disturbance call and the guy had a ah,

15      threatened his wife, to kill his wife, hurt his wife and ah, he

16      come out of the bedroom and swung at me and ah, I was able to

11      get back and deploy my taser on him.

18      Q.   Okay.

19      A.   And then of course I remember Mr. Doss .

20      Q.   Okay.     Any other times you remember?

21      A.   No , rna ' am.

22      Q.   Each time did you have to fill out a use of force report?

23      A.   I did; yes, rna' am .

24      Q.   And who reviewed those reports?

25      A.   Ah, we fill out those reports and then it goes to my
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1      sergeant and he turns it in to my lieutenant .

2       Q.   Okay.     Did you have to do any follow-ups and explain or

 3     what ' s the procedure?

 4     A.    Ah , once you're involved in use of force you ah , contact

 5      your sergeant and tell him the facts of what happened and then

 6      you fill out the report and give it to them who reviews it and

1       then turns it in .

 s      Q.   Okay .    Do you ever remember any feedback or any comment or

 9      criticism or any communication whatsoev er regarding any use of

10      force reports?

11      A.   No , rna ' am .

12      Q.   So your supervisor never came to you and said you could

13      have done this differently or-- -

14      A.   I've never had that happen; no.

15      Q.   Okay.      I'm showing you what was given to me it's section

16      11 , I guess; it's arrest procedures for Saline County.

17                             REPORTER:          Is that going to be an exhibit ma'am?

18                             FRAZIER :        Ah, it may be.

19                             REPORTER :         Okay, I'll just wait.

20                             FRAZIER :        I don't think I brought enough copies.

21                             REPORTER :         I'll just wait.

22                             FRAZIER:          I think I have one more copy .                  I know

23      what, I'm showing his this---

24                             FUQUA:        Okay.

25                             FRAZIER:         And I'll have a copy for ah--I ' m
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 1      sorry, I was in trial all yesterday.

 2                               FUQUA:      That's fine; go ahead; no problem.                         You

 3      probably need to look at that yourself.

 4                               ELLIS:      Yes, I think copy I think I have like

 5      this.    Is this Lisa?

 6      Q.   Have you ever seen that document before?

 7      A.   Yes ma'am.

 8      Q.   When have you seen it?

 9      A.   Ah, whenever they, whenever I got hired and they gave us a

10      book.

11      Q.   Okay.      Are you familiar with these?

12      A.   Ah, pret ty much; yes, ma'am.

13      Q.   Okay.      So these will be the arrest procedures that I asked

14      about earlier?

15      A.   Yes, rna' am.

16      Q.   Okay     So did you ever receive any training on these

17      procedures or again was it like the taser; here is the policy?

18      A.   Yes , rna ' am .

19      Q.   And you were expected to just read it and follow it?

2o      A.   Ye s , rna ' am .

21      Q.   Okay.      And did you follow all of the procedures during--all

22      of the procedures commemorated herein or listed herein when you

23      arrested Mr. Doss?

24                               FUQUA:       I object to the form of the question.                           I

25      think we haven't established that he arrested Mr. Doss so---
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                                                                                              20




 1                         FRAZIER:         Correct, so I withdraw t hat question.

 2      Q.   During the---

 3                         WILKERSON:          What section are we loo k ing at; I'm

 4      trying to find it on my computer.

 5                         FUQUA:        It's section---

 6                         FRAZIER:         Eleven.

 7                         FUQUA:        eleven.

 8                         WILKERSON:          Eleven; thank you.

 9      Q.   Were you present during the arrest of Mr. Doss?

1o      A.   I was; yes, ma'am.

11      Q.   Okay.    Did you arrest Mr. Doss?

12      A.   I did not .

13      Q.   What was your role?

14      A.   Ah, Mr. Doss was advised that he was under arrest by one of

15      the, I guess, Alexander officers.                   Ah, he began jerking away

16      from the officers and fighting trying to walk away cursing'em

11      (sic) using profanity and to prevent him from getting hurt or

18      one of the deputies from getting hurt because he was struggling

19     with them I told him taser, he was going to be tazed, taser,

20      taser and he was tased.

21      Q.   Okay .   How did you hook up with those officers?

22     A.    Ah, dispatch---

23                         FUQUA:        I object to the form of the question.

24      Q.   How did you come to be with those officers?

25                         FUQUA:        Thank you .
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 1      A.   Ah, our central dispatch gave us a call that the, Alexander

 2      had requested assistance on a disturbance call, they needed

 3      some help and I responded.

 4      Q.   Okay.   How many times did Alexander--how many times have

 5      you had to go assist Alexander PD?

 6      A.   Times, me personally, I don't know, a half a dozen times

 1      probably.

 8      Q.   Okay.   So is it usual or unusual for you to go assist

 ,      Alexander Police?

10      A.   It was ah, pretty usual, it depends on which area you

11      worked because it's broke down in district and stuff ah,

12      Alexander calls for assistance from the county quite often.

13      Q.   Okay.   And then the address that you were dispatched to was

14      that in Pulaski or Saline County?

15      A.   Ah, ma'am, I don't know; I don't know if it's Pulaski or

16      Saline.

17      Q.   If's it's in Pulaski County would you still be able to

18      assist Alexander City PD?

19      A.   Yes, ma'am, if they're requesting assistance or whatever

20      and something is going on we're authorized to go up there to

21      help them.

22      Q.   Okay.   I guess specifically even if the incident is in

23      Pulaski County?

24      A.   Yes, ma'am, if an officer is asking for assistance we have

25      to go.
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                                                                                               22

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 1      Q.   Okay.   So the officer, there's a call for assistance,

 2      you're dispatched; correct?

 3      A.   Yes, ma'am.

 4      Q.   Okay.   Who are you with?

 5      A.   Ah, just by myself.

 6      Q.   By yourself, okay .       Who else showed up to assist?

 1      A.   Ah, at that time I believe Deputy Babbitt was there and I

 8      believe later on another Alexander officer showed up and like I

 9      said I don't know their names, I don't know the guys up there.

10      Q.   Okay.   Why don't we just start from the beginning.                         You

11      received a dispatch, correct?

12      A.   Yes, ma'am.

13      Q.   Okay; tell me the story.

14      A.   Okay.   So dispatched to assist Alexander officers ah, while

15      in route there ah, to the call ah, there was an Alexander unit

16      sitting in like a gravel lot.              Ah, I pulled over t here to the

11      empty lot ah, I believe Deputy Babbitt was already there and I

18      pulled up to find out what was going on.                      Ah, the Alexander

19      officer said that he had been on a disturbance call or whatever

20      or while he was telling his story you could hear someone

21      shouting and then later on it was identified as Mr. Doss

22      shouting, screaming, you know, you could hear him screaming

23      fuck this, fuck that and everything he was sayi ng was just

24      profaned language .     Ah, he had went down there in his car or

25      whatever and that Mr. Doss had told him, y ou know, basically
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 1      get off his property he wasn't taking him to jail so I guess

2       this guy was a new officer or something so he backed out and

 3      that's when I guess he called for assistance.                     Ah, the other

 4      Alexander officer got there and you could still hear Mr. Doss

 5      screaming and hollering, he said that was him ah, so we just

 6      followed him down there.          Ah, they all exited their unit before

 7      I did ah, Deputy Babbitt---

 8      Q.   I ' m sorry; I ' m sorry.      Tell me again what happened; y ' all

 9      were in a gravel lot?

10      A.   It's like a gravel parking lot of something kind of close

11      to his residence.

12      Q.   Okay, close to his residence.

13      A.   Right .

14      Q.   And could you see him or just hear him?

15      A.   I couldn't see him we could just hear someone screaming and

16      hollering profanity and ah, they said that was Mr. Doss

11      outside.

18      Q.   Okay.     And then what did Officer Watson tell you?

19      A.   Ah, I don't remember if it was Mr. Watson or the other guy

20      but ah, they said that they were waiting for some assistance to

21      go down there and arrest him .

22      Q.   Did they tell you what they were arresting him for?

23      A.   Ah, well , he used profanity and things like that standing

24      outside his residence and ah, I was under the assumption it was

25      probably going to be disorderly conduct and ah, they---
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1      Q.    Go ahead.

2      A.    I was about to say when we got there to the scene the other

3      officers had already exited their cars, they were walking up

4       and ah---

5      Q.    Now which other officers, how many officers were there?

 6     A.    It was the two Alexander guys and Deputy Babbitt.

 1     Q.    Okay.

 a     A.    And ah, they were walking to him and he was facing them as

 9      they was walking to him they were facing him and he was

10      shouting and he was cussing'em (sic) and things like that and I

11      remember one of the Alexander officers said Chris you're under

12     arrest and he was like fuck you, I'm not going to jail, turned

13      around, I remember there was a grill, he was grilling some food

14      saw smoke or whatever, he was going to the grill and they said

15      Chris you're under arrest.           Deputy Babbitt grabbed one arm and

16      then let the other guy grab the other arm and he went to

11      jerking around, screaming and hollering and cussing and

18      everything else .     I told them you guys are going to get hurt,

19      y'all back off taser, taser and, you know I told him you're

20      going to get tazed and ah, he just kept on, kept on and ah,

21      they was trying to take him to the ground and I told'em I said

22      you're going to get hurt and ah, told'em to get out of the way

23      and I administered the taser.

24      Q.   Okay.   And ah, but how long approximately did this whole,

25      until you said taser, taser, about how long did it take?
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 1      A.    About fifteen seconds probably .

 2      Q.    So there was ten or fifteen seconds f rom the t ime t h at they

 3      encountered Mr . Doss until the time that you tazed him?

 4      A.    No, the struggle, like when he turned arou nd and s t art ed

 5      walking off and stuff they started struggling with him for

 6      about ten or fifteen seconds .

 1      Q.    Okay.    And do you know who the other officer was that spoke

 8      to Mr. Doss from Alexander?

 9      A.    No, ma'am.

10      Q.    Okay.    Ah, but Officer Babbitt also?

11      A.    Officer Babbitt was on his left side.

12      Q.    Okay.    And the other officer was on his right side?

13      A.    Right.

14      Q.    And about how big is Officer Babbitt ?

15      A.    Ah, he's probably a little over six f o o t , maybe 190 .

16      Q.    Okay .   And what about the other officer that was on his

11      right side?

18     A.     I don't know, I don't know him; I don' t                         know which one it

19     was.

20      Q.    Okay.    Could the officer that have, without                          giving me the

21      name, can you describe this---

22     A.     About the same size as Babbitt, a little taller, it guess;

23      I remember there being a tall guy there .

24      Q.    Okay.    But how much did he weigh?

25     A.     Ma'am, I don't know .            I don't see t h ose guy s that often; I
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 1      didn't know ' em.

2       Q.   Okay.    But generally you can estimate a suspects weight or

 3      height; you done that before , correct?

 4      A.   Correct; yes, ma'am.

 5      Q.   Okay.    So generally if you don't know the guy but how much

 6      did the guy weigh that was on the other side on his arm?

 1      A.   Ma'am I believe just guessing maybe 200 ; I don't know .

 8      Q.   Okay .   So you yelled taser , taser and then what happened?

 9      A.   Mr. Doss went to the ground, he still was struggling with

10      officers and he had his hands up underneath his waistband and

11      they didn't know if he had a weapon or what he had and they

12      were sitting there saying, I guess one of the guys knew him and

13      they was saying Chris get your hands out , get your hands out

14      and he wouldn't get his hands out and stuff and I said if you

15      don't get your hands out you're going to get tased again and

16      ah, he administered another cycle and I remember Deputy Babbitt

11      was able to get one hand out and they was able to handcuff him .

18      Q.   And then what happened?

19      A.   Ah, he was walked back to the car ah , ah , I disconnected

20      the taser , asked them if they needed anything, any medical

21      assistance---

22      Q.   I ' m sorry, could you repeat that?

23      A.   What?

24      Q.   What happened.

25      A.   Disconnected the taser wires.
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 1      Q.   Who disconnected the taser?

 2      A.   I did.

 3      Q.   You did, okay.

 4      A.   Because you'd have to keep your cartridge.                                  You disconnect

 5      the wires and then---

 6      Q.   Okay .     And then what happened?

 1      A.   Ah, I guess Alexander transported him and then I left.

 s      Q.   You left, okay.             And then did you write a use of force

 9      report?

10      A.   I did; yes, ma'am.

11      Q.   Okay.      Do you know where that use of force report is?

12      A.   No, ma'am, I do not.

13      Q.   Okay.      Were any of the cars, police cars on scene near Mr.

14      Doss' property?

15      A.   Were they on scene?

16      Q.   Did you, when you met in the gravel lot did y'all walk to

11      Mr . Doss ' ?

1s      A.   No, we all drove.

19      Q.   Okay.      Do you if any of the, if your car or any of the

20      other cars had an audio or visual on?

21      A.   Oh no, ma'am; I don't know.

22      Q.   Did your car?

23      A.   No, rna' am.

24      Q.   Did you have any body mikes or any audio?

25      A.   No , rna ' am.
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                                                                                                      28
                                                            CERT:FIED COPY
 1      Q.   Recording devices?

 2      A.   No , ma ' am.

 3      Q.   I'm going to show you---

 4                             FUQUA:        By the way, are you mak ing this arrest

 5      procedures an exhibit; you never said.

 6                             FRAZIER :         We can; that's cool.

 7      Q.   Okay .   Officer Green I'm handing you a case narrative, t wo

 8      case narratives actually that I received in discov ery.                                   Did y ou

 9      write that?

1o      A.   Yes , rna ' am.

11      Q.   Actually there are t wo of them because they have d if f erent

12      dates on the bottom.               One is stuck be h i nd Ms. Cobb.

13                             FUQUA:        If you don't mind let ' s mark the f i rst

14      as Ex hibit 2 he's looking at .

15                             WILKERSON:           What is the first one he ' s looki n g

16      at so I can---

17                             REPORTER:          Wait j ust a minute.                 Are you speak ing

18      of that one or this one ?

19                             FUQUA:        The policy---

20                             REPORTER :         This is Exhibit 1.

21                             FUQUA:        is Exhibit 1 .

22                             REPORTER:          Yes, sir and it's t wo p ages .

23                             FUQUA:        And it ' s two pages.

24                             REPORTER:           Yes, sir .

25                             FUQUA:        And then Exhib i t            2 is goi n g to be the
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1       first document placed in front of Officer Green and I ' ll let

 2      these other lawyers ---

 3                            ELLIS :      Yes, thank you .

 4                            FUQUA:       look at it .         Do you want to mark that

 5      one?

 6                            REPORTER:         Yes, sir.

 1      Q.     Did you prepare that statement?

 a      A.     Yes, ma'am .

 9      Q.     What circumstances caused you to prepare that statement?

10      A.     Ah, upon the night that the incident occurred I actually

11      completed a use of force-- -

12      Q.     Uh-huh.

13      A.     and that use of force was turned in to my sergeant and my

14      sergeant turned it in to my lieutenant and the next day that we

15      were off, I received a call from my sergeant stating that the

16      lieutenant only received a copy of the use of force and that

11      night my sergeant said since it was an assist to Alexander on

1a      the use of force just type this narrative on the use of force .

19      So I did what my sergeant told me to do and then I received a

20      call the next day from my sergeant that the lieutenant had the

21      use of force that he also wanted an incident report.                              So I left

22      on my day off and went to the substation and completed this

23      incident report and turned it in; actually submitted it on the

24      computer.

25      Q.     Okay .    And I'm handing you a second narrative; it's 1n
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 1      front of Ms. Cobb.

 2                        REPORTER:       I'm sorry; I didn't see it.

 3                        GREEN:     That's fine.

 4                        FUQUA:     Is this 3?

 5                        REPORTER:       It will be 3, sir.

 6                        FRAZIER:      I'm only going to include one; I don't

 1      need to include the other one.              I was just curious why they had

 8      different dates.      They don't need to be both admitted .

 9                        FUQUA:     Well, is it the same narrative?

10                        FRAZIER:      Uh-huh .

11      A.   The only thing I can tell you is when a nybody goes into a

12      computer like if anybody goes in to review it, it will show up

13      whenever somebody else printed it out it will show that they

14      printed it out.

15      Q.   Okay.

16      A.   On that day that they printed it out.

17                        FUQUA:     I'd like to have this as Exhibit 3 just

18      so we'd know what he looked at.

19                        FRAZIER:      Okay.

20                        WILKERSON:       Yeah, I got it on here too.

21      Q.   I mean that one is the format is slightly different and I

22      was wondering if you had to do---

23      A.   No.

24      Q.   one for someone and then turn in something for someone else

25      and---
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 1     A.   No, once I hit the submit button I h ave nothing else to do

 2     with that so---

 3     Q.   Okay.     And is that a true and accurate account of--how soon

 4     after the incident with Mr. Doss happened did you write that

 5     narrative?

 6     A.   Once I did the use of force first and this was on my day

 1     off so this happened, this was either on the first day off or

 8     the second day off so it was one or t wo days after.

 9     Q.   So is that an accurate narrative of what happened as well?

10     A.   Ah, pretty much; yes, ma'am .

11     Q.   Is there anything that you would change?

12     A.   Ah, except the other stuff about the deploying of the taser

13     or the number of cartridge or the number of tase that actually

14     come on the use of force and a lot of times we don ' t put it on

15     here.

16     Q.   Okay.     Is everything else true and accurate?

11     A.   Yes , rna ' am .

18                             FRAZIER:     Okay.      Let me l ook at my stuff but I

19     think I'm done for right now.                  Does anyone have any questions?

20                             FUQUA:     Ah, I did want to ask a question.

21                                        CROSS-EXAMINATION

22     Questions by Mr. Fuqua:

23     Q.   You said you were the youngest field-training officer a t

24     North Little Rock?

25     A.   Yes, sir.
                                           Cobb Court Reporting
                                   P . 0. Box i 4, Sweet Home, AR 72 164 - 0004
                           Ph o nes :  (501) 4 90-0066 - Of f; (501) 590-0975 - Ce ll
                                            (5 0 1 ) 490-0926 - Facsimil e
                                         e-ma il : g l oria.cobb@comcast . net
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                                                                                                32
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 1      Q.   Okay.    Did you ever train in use of force?

 2      A.   Ah, yes, sir.

 3      Q.   I mean you trained people in the use of force is that

 4      correct?

 s      A.   Correct.

 6                        FUQUA:        Ah, okay, that's all I've got .

 7                                       CROSS-EXAMINATION

 s      Questions by Mr . Ellis:

 9      Q.   Officer Green I represent Paul Babbitt.                          I wrote down what

10      you said; I think I wrote it down right.                         Babbitt was there

11      already.     Now your testimony I think was in the context and I

12      may have misunderstood is why I'm asking.                          In the context of

13      the gravel lot---

14      A.   Yes, sir.

1s      Q.   was he already at the gravel lot?

16      A.   Right yes, sir; he was parked next to an Alexander car.

11      Q.   All right.     Who all was at the gravel lot?

18      A.   It was ah, the Alexander car, Babbitt, I pulled up and then

19      another Alexander car showed up.

20      Q.   Okay.    And I think you indicated then you all pulled out

21      together---

22      A.   Right, they pulled out and went to---

23      Q.   But you were hearing Mr. Doss there?

24      A.   Correct; yes, sir.

2s      Q.   And you went to where Doss was did you indicate that in
                                          Cobb Court Reporting
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                          Pho nes :   (SOl) 490-0 06 6 - Off; (5 01) 59 0- 0975 - Cell
                                           { 501) 4 90-0 92 6 - Facsi mil e
                                        e-mai l : g 1o ria .cobb@comc a st. n e t
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                                                            CER~~~tED CO.PY
                                                                                                33




 1      your testimony when you arrived there Babbitt was ahead of you

 2      and had already gotten there?

 3      A.     That is right; yes, sir.

 4      Q.     Okay.    Now did he have any involvement other that holding

 5      Mr. Doss on the left side; on his left side?

 6      A.     Right.      He held him on his arm and they was trying to take

 1      him to the ground and then he helped subdue him with handcuffs.

 8      Q.     Okay.    So if they had been successful getting him to the

 9      ground and cuffing him you wouldn't have had to taser him?

10      A.     Correct.

11      Q.     But he was not cooperative?

12      A.     No, sir; not at all.

13      Q.     And so you had to taze him?

14      A.     Correct .

15      Q.     And you've trained other officers in this area have you

16      not?

11      A.     Ah, as far as actually training on the taser I'm not a

18      certified taser instructor---

19      Q.     Okay.    But in other areas of use of force?

2o      A.     Right, correct; yes, sir.

21                           ELLIS:        I think that's all.

22                           WILKERSON :          I have nothing.

23                           FRAZIER:          I have some followup.

24                                        REDIRECT EXAMINATION

25      Questions by Mrs. Frazier:
                                              Cobb Court Reporting
                                   P.   o. Box #4, Sweet Horne, AR 72164-0 004
                             Phones:    (501) 490-0066 -Off; (5 01) 590 - 09 75 - Cell
                                            (501) 490-0926 - Facsimile
                                         e-mail: gloria.cobb@corncast.net
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                                                                                               34

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 1      Q.   Where is that grav el parking lot you said?

 2     A.    Ma'am it's probably ah, a few hu ndred, maybe a hundred and

 3      fifty yards away from his residence maybe or something like

 4      that; a hundred yards maybe.                It was ah, I guess is that a

 5      trailer park back where he lives on I don't know if that's

 6      considered a trailer park but ah, his house is ri ght here, we

 1      were right here, over in this area.                     So I don ' t kn ow that area

 a      very well but I remember it was some kind of little lot right

 9      there .

10                        FRAZIER:         Okay.

11                                     RECROSS EXAMINATION

12      Questions by Mr. Ellis:

13      Q.   Greater than the distance of a football field ?

14      A.   Yes, sir .   It ' s probably just a litt le bit fu r t her than a

15      f o otball field; maybe a bout a hundred yar ds.

16      Q.   And you all were hearing him?

11      A.   Yes, sir .

18                        ELLIS:        No thing further; t h ank you.

19                        FRAZIER:         nothing fur t her.

20                        FUQUA:        I'm done.         We'll waive sign ature on th is

21      Ms . Cobb.   Ok a y , you're done; you ' re free t o go.

22                        ELLIS:        Thank y o u, sir.

23                        REPORTER :         Thanks, Off icer Green.

24                        [The deposition ended at 10 : 22 a.m., Octobe r 9 ,

25      2013.]
                                          Cobb Court Reporting
                                P . 0. Box f4, Sweet Ho me , AR 72164 - 0004
                          Phones:   (50 1 ) 490-0066 - Off ; ( 501) 590 - 0975 - Cell
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                                      e-mail : gloria . cobb@comcast . net
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                                                  SECTION 011

                                           ARREST PROCEDURES


I.      POLICY
        Laws of arrest and search and seizure are defined by the United States Constitution, Arkansas statutes, and
        judicial interpretation to protect individual rights of all persons. It is the policy of the Saline County
        Sheriffs Office to always use legal justification and means for any arrest, search or seizure.
        A.      Only sworn deputies shaH make arrests or serve arrest warrants. Non-sworn employees shall direct
                persons surrendering at the Sheriff's Office to a deputy for arrest or to serve an arrest warrant. Use
                caution, planning, and correct approach to help reduce dangers of making arrests.
        B.          You may arrest when you have an arrest walTant, reasonable belief there is an outstanding arrest
                    warrant, or probable cause to believe a crime has been committed.
               1.           Most arrests can be made simply by ·communicating verbally with the person to be
                            arrested that he/she is under arrest. ·It is unnecessary to apply any physical force or to
                            touch the body in this type of arrest situation unless the person arrested needs to be
                            handcuffed.
               2.           It is the policy of the Saline County Sheriff's Office that deputies making an arrest
                            verbally advise the arrestee, "you are under arrest," or a similar phrase to ensure an·estee
                            clearly understands he/she is under arrest.
               3.           Fortunately most citizens who are arrested will comply to a deputy's commands and
                            submit to arrest without incident. However, occasionally a citizen will become
                            argumentative or violent in their refusal to submit to an arrest. In this type of arrest
                            situation the following guidelines will be followed:
                            a.       Only the force necessary to effectively make the arrest will be used.
                                     Example
                                     If an individual is only argumentative and is hesitant in complying with an
                                     deputy's orders, he/she will be led to the preferred destination, (generally a
                                     patrol vehicle), by the deputy holding the individual's ann as a method of
                                     guidance (minimum force necessary is used to effect the arrest). NOTE: Verbal
                                     assault is not considered as a legitimate excuse to apply any type of physical
                                     force as long as the individual voluntarily submits to the arrest.
                                     Example
                                     If an individual becomes violent, (fighting or struggling with deputies), at any
                                     time during an arrest, deputies are justified to use whatever reasonable force is
                                     necessary to effectively make the arrest. Force will be escalated in the following
                                     order:
                                     •        Verbal commands.
                                     •        Use of hands to apply restraining holds.
                                     •        Taser (if training is documented and certification issued).
                                     •        O.C. Spray (if training is documented and certification issued).
                                     •        Use of Baton or similar device for which training documentation is
                                              available.
                                     •        Deadly Force (deputies will be justified in using deadly force to protect
                                              themselves or others from what is reasonably perceived to be an
                                              immediate threat of death or serious bodily harm).
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                                                                                                             "'   PLAINTIFF'S DEPOSITION
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   C.        In any type of arrest situation officers will exercise caution and call for back-up at any point during
             the arrest procedure that there is the slightest possibility that any type of force will become
             necessary.
   D.        Sworn law enforcement personnel shall be allowed to make a non-warrant arrest when:
        I.            A criminal offense has been committed in his/her presence, either felony or misdemeanor;
        2.            When the deputy has "reasonable grounds" for believing the person arrested has
                      committed a felony offense;
        3.            When acting in accordance with authority specified within Arkansas Rules of Criminal
                      Procedure 4.I through 4.6;
        4.            Pursuant to ACA I6-81-I06, when the deputy bas "probable cause" to believe that the
                      person arrested has committed the criminal offense of misdemeanor battery and the
                      deputy fmds evidence of bodily harm and the deputy reasonably believes that there is
                      danger of violence unless the person alleged to have committed the battery is arrested
                      without delay, it is not necessary that the alleged offense has been committed in the
                      deputy's presence. NOTE: This is an exception to the general rule that a
                      misdemeanor offense must be committed within the deputy's presence.
   E.        Arrests Outside Jurisdiction of the Saline County Sheriff's Office. A law enforcement officer of
             the Saline County Sheriffs Office operating outside the jurisdiction of Saline County may make
             non-warrant arrests for felony or misdemeanor offenses if the offense is committed within the
             deputy's view, subject to the following provisions:
        I.            This section is applicable only within the State of Arkansas;
        2.            That as soon as possible after the arrest the deputy shall notify the Law Enforcement
                      Agency, where the arrest was made, of the arrest and that Law Enforcement Agency shall
                      take custody of the detainee and shall take the detainee before a magistrate; and
        3.            That the deputy operating outside this jurisdiction must be doing so at the request of or
                      with the permission of the Municipal or County Law Enforcement Agency having
                      jurisdiction in the locaie of the arrest.
   F.        Other Arrests. When a deputy is orally ordered by a Judge to effect an arrest upon anyone for the
             commission of a public offense committed in the Judge's presence, such order shall justify such
             arrest.




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                                                       CASf NARRATIVE

        OFFICER WAS DISPATCHED TO 13S23 2ND STREET IN AlEJt'ANDE'R TO ASSIST A.lEXANDER POLICE DEPARTMENT ON A
        DISTURBANCE. UPON ARRIVAL OFFICER OBSERVED A BLACK MAlE (LATER IDENTIFIED-AS CHRIS DOSS) STANDING IN THE •
        FRONT YARD OF TtlE RESIDENCE SHOUTING PROFANE LANGUAGE TOWARD OFFlCl:R'S. UPON APPROACH ALEXANDER
        POLICE UNITS ADVISED SUSPECT THAT HE WAS UNDER ARREST, AT WHICH TIME SUSEPCT BEGAN SHOUTING, "FUCK 'IOU
        I'M NOT GOING TO JAIL I" OFFICER'S ATTEMPTfD TO PLACE THE SUSPECT'S HANDS BEHIIIIO HIS BACK, AT WHICH TIME THE
        SUSPECT BEGAN TO JERK AWAY FROM OFfiC~RS, OFFICER'S ADVISED SUSPECT NUMEROUS TIMES TO STOP RESISTING,
        HOWEVER SUSPECT REFUSfO. DEPUTY GREEN THEN DEPLOYED TASER STRIKING THE SUS~ECT IN THE BACK AREA.
        SUSPECT WAS SUBDUED WITH HANDCUFFS Win(OUT FURTHER INCIDENT BY ALEXANDeR POLICE UNITS.

        SUSPECT WAS TRANSPORTED TO THE SALINE COUNTY DETENTION CENTER BV ALEXANDER POLICE.




        DEPUlYTIM GREEN




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       3/21/2013                                                                                        Page3 of3
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                                  CASE NARRATIVE



OFFICER WAS DISPATCHED TO 13523 2ND STREET IN ALEXANDER TO ASSIST ALEXANDER POLICE
DEPARTMENT ON A DISTURBANCE. UPON ARRIVAL OFFICER OBSERVED A BLACK MALE (LATER
IDENTIFIED-AS CHRIS DOSS) STANDING IN THE FRONT YARD OF THE RESIDENCE SHOUTING
PROFANE LANGUAGE TOWARD OFFICER'S. UPON APPROACH ALEXANDER POLICE UNITS ADVISED
SUSPECT THAT HEWAS UNDER ARREST, AT WlllCH TIME SUSEPCT BEGAN SHOUTING, "FUCK YOU
I'M NOT GOING TO JAIL!" OFFICER'S ATTEMPTED TO PLACE THE SUSPECT'S HANDS BEHIND HIS
BACK, AT WHICH TIME THE SUSPECT BEGAN TO JERK AWAY FROM OFFICERS. OFFICER'S
ADVISED SUSPECT NUMEROUS TIMES TO STOP RESISTING, HOWEVER SUSPE<:;T REFUSED. DEPUTY
GREEN THEN DEPLOYED TASER STRIKING THE SUSPECT IN THE BACK AREA. SUSPECT WAS
SUBDUED WITH HANDCUFFS WITHOUT FURTHER INCIDENT BYALEXANDER POLICE UNITS.
SUSPECT WAS TRANSPORTED TO THE SALINE COUNTY DETENTION CENTER BY ALEXANDER
POLICE.                 DEPUTY TIM GREEN




                                                                      1!l PLAINTIFF'S DEPOSITION
                                                                      ~        . ~HIBIT

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 2


 3
 4      STATE OF ARKANSAS
 5                                                                ss. XXX-XX-XXXX
 6      COUNTY OF PULASKI
 7
 8
 9                     I, Gloria Y. Cobb, A Certified Court Reporter
10      and Notary Public in and for the aforesaid County and state, do
11      hereby certify that the witness, TIMOTHY SHANNON GREEN, was
12      duly sworn by me prior to the taking of testimony as to the
13      truth of the matters attested to and contained therein; that
14      the testimony of said witness was taken by me, a voice writer,
15      and was thereafter reduced to typewritten form by me or under
16      my direction and supervision; that the foregoing transcript is
11      a true and accurate record of the testimony given to the best
18      of my understanding and ability.
19
20                     I FURTHER CERTIFY that I am neit her counsel for,
21      related to, nor employed by any of the parties to the action in
22      which this proceeding was taken; and, further, that I am not a
23      relative or employee of any attorney or counsel employed by the
24      parties hereto, nor financially interested, or otherwise, in
25      the outcome of this action; and that I have no contact with the
26      parties, attorneys, or persons with an interest in the action
21      that affects or has a substantial tendency to affect
28      impartiality, that requires me to relinquish control of a n
29      original deposition transcript or copies of the tra n scri pt
30      before it is certified and delivered to the cus todial at t orney ,
31      or that requires me to provide any se      not available to all
32      parties to the act.
33
34

35
36
37      My Commission Expires:
38      January 16, 2017
39      My Commission # 12358451




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                                  (50 1 ) 490-0066 -Of f; ( 501) 590 - 0975 - Cell
                                        ( 501 ) 490- 0 926 - Facsimile
                                    e-ma i l: gloria . cobb@comcast . net
